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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   CHARLES LERCHER,                                    Case No.: 19-CV-1176 JLS (KSC)
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO DISMISS
14   WYNDHAM SAN DIEGO BAYSIDE, an
                                                         (ECF No. 20)
     unknown business entity; WYNDHAM
15
     HOTELS & RESORTS, INC., a Delaware
16   corporation,
17                                   Defendants.
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19         Presently before the Court is the Parties’ Joint Motion for Order of Dismissal (ECF
20   No. 20). Good cause appearing, the Court GRANTS the Joint Motion. As stipulated by
21   the Parties, the Court DISMISSES WITH PREJUDICE the action in its entirety, with
22   each Party to bear its own costs and attorney’s fees. The Clerk of Court will close the file.
23         IT IS SO ORDERED.
24   Dated: May 19, 2020
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